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                                            UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF IDAHO

               EDWARD WATTERS, DEAN
               GUNDERSON, STEVEN
               FARNWORTH, MATTHEW
               ALEXANDER NEIWIRTH, individuals,                                 Case No. 1:12-cv-0076-REB
               and OCCUPY BOISE, an Idaho
               unincorporated non-profit,                              DECLARATION OF MATTHEW
                                                                       ALEXANDER NEIWIRTH IN
                         Plaintiffs,                                   SUPPORT OF MOTION FOR
                                                                       TEMPORARY RESTRAINING
                                         v.                            ORDER, PRELMINARY
                                                                       INJUNCTION, FOR FURTHER
               BRADLEY JAY LITTLE, in his official                     RELIEF, ORDER TO SHOW CAUSE,
               capacity as the Governor of the State of                AND CONTEMPT
               Idaho, STEVEN BAILEY, in his official
               capacity as the Director of the Idaho
               Department of Administration, and COL.
               KEDRICK R. WILLS, in his official
               capacity as the Director of the Idaho State
               Police,

                         Defendants. 1




                    1
                        Defendants in this action automatically substituted pursuant to F.R.C.P. 25(d).


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            I, Matthew Alexander Neiwirth, declare as follows:

            1. I am 47 years old and have lived in Boise, Idaho on and off for about 30 years. I am

                one of the Plaintiffs in this case. I am involved with the Peoples’ University, which

                has been organized on an ongoing basis at the site of the Capitol Annex and the

                Capitol Mall in Boise, Idaho since May 3, 2024.

            2. I learned that some individuals were intending to establish a demonstration in

                support of Palestine through communications with my community sometime during

                the week of April 29, 2024.

            3. I later heard that, on May 3, 2024, demonstrators had erected symbolic and assembly

                tents on the grounds of the Capitol Annex for the purposes of the vigil. I drove by the

                vigil that evening to look at it but did not have time to stop and participate in the

                demonstration that evening.

            4. Since the vigil was established, we have done our best to maintain a 24-hour, 7-day a

                week vigil in solidarity with the people of Palestine and to highlight to individuals

                and policymakers in Boise, Idaho the ongoing consequences of the genocide.

                Maintaining a constant, overnight vigil is also crucial to our message because the

                people of Palestine are unable to take down their tents and go home to sleep for the

                night: they are forced to live in those conditions constantly. If we are unable to

                maintain our vigil and are required to take down our tents and go home for the night,

                then we would not be able to effectively communicate and make visible the ongoing

                nature of the violence in Palestine. Being able to conduct a 24-hour vigil utilizing

                symbolic tents is crucial to the core message of the demonstration because it makes




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                visible the nature of the ongoing violence and displacement faced by people in

                Palestine.

            5. We understand that, during our 24-hour vigil, individuals are not allowed to sleep at

                the site of the Capitol Annex or on State grounds. We have had several conversations

                as a group about the importance of not sleeping on the grounds. In order to comply

                with the applicable Idaho law, we have maintained a rotating shift of individuals to

                continuously staff the demonstration in 4-to-8-hour shifts. No individual associated

                with the vigil has been able to remain on site for its entire duration because we need

                to go home to sleep in order to comply with Idaho law.

            6. Like at the Occupy Boise demonstration, in addition to symbolic purposes, the

                presence of tents and other temporary structures have been important to our right to

                assembly. We have used common spaces under temporary structures to engage in

                continuing education about Palestine and the violence occurring there. On nights that

                it has rained, we would have been unable to continue our 24-hour vigil without a

                space to assemble out of the elements.

            7. I arrived on May 4, 2024, at approximately 9:00 AM after the vigil had already been

                swept earlier that morning by Idaho State Police. I set up a tent in support of the

                demonstration and spent part of the day there. When I learned that Idaho State Police

                had threatened to sweep the vigil again that evening at approximately 6:30 PM, I took

                my tent down and went home to get a different one because I had plans to use my

                original tent for a camping trip that weekend. I left my tent there for a few days and

                took it down during the week of May 6, 2024.




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            8. Since May 4, 2024, I have been at the site of the demonstration during various days

                and times but have been unable to be there at every hour of every day. When Occupy

                Boise was occurring, we were in a similar situation: I had other work obligations

                during the day that would prevent me from there at every hour of every day, but we

                maintained a number of individuals at the site of the demonstration to ensure that it

                remained staffed.

            9. On May 8, 2024, after demonstrators had returned to the Capitol Annex grass, a sign

                had been placed informing the public that annual irrigation maintenance would

                occur on the grounds between March 28, 2022 and March 30, 2022. I recognize the

                sign placed there as having also been utilized in 2022 during the last Occupy-style

                vigil that occurred at the site in 2022, Operation Hope Ain’t Going Nowhere, which

                was designed to protest against economic inequality and housing insecurity in Boise.




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            10. On May 8, 2024, demonstrators had begun to relocate their vigil to the east side of the

                apron of the Idaho State Capitol steps in order to comply with requests from Idaho

                State Police that they leave the grounds of the grass of the Capitol Annex each day at

                6:30 PM to allow for watering by the time I arrived. I observed demonstrators were

                consolidating the materials used in the protest to ensure ample access to the

                pedestrian walkway to the east of the steps when Idaho State Police ordered us to step

                away and seized all of the property on the steps. That, of course, included the

                symbolic assembly tents themselves, but also included food, water, education

                materials, signs, and numerous other items. In the course of sweeping the vigil, Idaho

                State Police officers took a sign that I was holding from my hands. I am uncertain as

                to whether it has been returned to the vigil, but I have not seen it since.

            11. I will testify in person and under oath about these facts before this Court if I am

                called as a witness.



                    Pursuant to 28 USC § 1746, I declare under penalty of perjury that the foregoing is

            true and correct.

                             EXECUTED: May 14, 2024.




                                                               __________________________________
                                                               By: Matthew Alexander Neiwirth
                                                               Plaintiff




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                                                     WREST COLLECTIVE

                DATED: May 14, 2024                  By:   /s/ Casey Parsons
                                                     Casey Parsons
                                                     Attorneys for Plaintiff Matthew Alexander Neiwirth




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